                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE


G. MARIE NEWBY, individually, and as §
Administratrix of THE ESTATE OF      §
TERRY CHILDRESS,                     §
                                     §
      Plaintiffs,                    §                       Case No. ___________
                                     §
v.                                   §                       JURY DEMANDED
                                     §
CORECIVIC OF TENNESSEE, LLC,         §
as owner and operator of TROUSDALE §
TURNER CORRECTIONAL CENTER, §
DAMON HININGER, STEVE CONRY, §
RAYMOND BYRD, and SHAWNA             §
CURTIS,                              §
                                     §
      Defendants.                    §


                                               COMPLAINT


           For their Complaint, the Plaintiffs state to the Court and the Jury as follows:

                                           I. INTRODUCTION

           1.       This action arises from yet another preventable death at CoreCivic’s

“severely understaffed” Trousdale Turner Correctional Center 1—Tennessee’s most

dangerous and notorious prison.

           2.       According to one of its own former employees, CoreCivic—a private prison

corporation that operates Trousdale Turner Correctional Center for profit—is driven by

“the power of the almighty dollar.” 2 As a result, CoreCivic severely understaffs Trousdale



1   See Ex. 1, Tr. of Treyton Lattimore Interview at 31:1.
2   Id. at 33:19.

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Turner Correctional Center while willfully disregarding inmate safety there. CoreCivic is

also willing to tolerate preventable deaths at Trousdale Turner Correctional Center

because adequately staffing the facility would exceed the cost of liability that CoreCivic

faces when inmates die from CoreCivic’s profit-motivated deliberate indifference.

           3.        In addition to being made aware of—and asked to adjudicate—claims

arising from CoreCivic’s chronic deliberate indifference to inmate safety at Trousdale

Tuner Correctional Center specifically, 3 this Court has been made aware of “inadequate

medical staffing that was endemic of broader issues with staffing levels at CoreCivic

facilities” generally, it has been made aware of CoreCivic’s “failures to maintain accurate

records of medication administrations,” and it has been made aware of at least one

“inadequate emergency response in the case of an inmate who eventually died.” 4 This

Court is also privy to sealed communications among CoreCivic’s executives and lobbyists

that confirm CoreCivic’s chronic, profit-motivated deliberate indifference to inmate

safety. 5

           4.        Among the results that CoreCivic has achieved through its profit-motivated

deliberate indifference to inmate health and safety, Tennessee inmates who are housed at

CoreCivic facilities are approximately twice as likely to die and more than four times as

likely to be murdered—even though CoreCivic houses inmates with disproportionately

low security designations. 6


3 See, e.g., Ex. 2, First Amended Complaint, Pleasant-Bey v. State of Tennessee et al. No. 3:19-CV-486

(MDTN Dec. 21, 2020), ECF No. 68 at 9–15, 17.
4 See, e.g., Ex. 3, Memorandum, Grae v. Corrections Corporation of America, No. 3:16-cv-02267 (MDTN

March 26, 2019), ECF No. 165.
5   See id. at 7, n. 2.
6See, e.g., Cassandra Stephenson, Inmate death ruled homicide in a Tennessee CoreCivic prison where
rate is twice as high as TDOC's, records show, JACKSON SUN (Jan. 28, 2020),

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          5.    A scathing Performance Audit Report of Tennessee’s CoreCivic facilities

conducted by the Tennessee Comptroller of the Treasury recently determined that

CoreCivic’s management failed to “implement or enforce established internal controls to

ensure state and CoreCivic correctional facilities staff collected and accurately reported

incident information” regarding “inmate deaths, inmate assaults, inmate violence,

correction officers’ use of force, and inmate accidents and injuries,” and it found that in

many instances, CoreCivic had destroyed records and evidence in contravention of state

law. 7

          6.    Shortly before that, another state audit determined that Trousdale Turner

Correctional Center, in particular, “operated with fewer than approved correctional staff,

did not have all staffing rosters, did not follow staffing pattern guidelines, and left critical

posts unstaffed”; that “CoreCivic staffing reports at Trousdale Turner Correctional Center

contained numerous errors”; and that “Trousdale Turner Correctional Center

management’s noncompliance with contractual requirements and department policies

relating to inmate services challenged the department’s ability to effectively monitor the

correctional facility.” 8




https://www.jacksonsun.com/story/news/crime/2020/01/28/corecivics-tennessee-prisons-have-twice-
homicide-rate-tdocs/2776928001/ (“The corporation’s four Tennessee facilities hold roughly 35% of the
state’s prison population but accounted for about 63% of the state’s prison homicides.”); Prison Legal News,
CoreCivic Prisons in Tennessee Have Twice as Many Murders, Four Times the Homicide Rate as State-
Run Facilities, PLN (Aug. 6, 2019), https://www.prisonlegalnews.org/news/2019/aug/6/corecivic-
prisons-tennessee-have-twice-many-murders-four-times-homicide-rate-state-run-facilities/ (“from 2014
through June 2019, there were twice as many murders in the four Tennessee prisons operated by CoreCivic
(formerly Corrections Corporation of America) than in the 10 prisons run by the Tennessee Department of
Correction (TDOC). Also, the homicide rate in CoreCivic facilities was over four times higher than the rate
for TDOC prisons.”).
7 Ex. 4, Tennessee Comptroller of the Treasury, Performance Audit Report, Tennessee Department of
Correction (Jan. 2020), available at https://comptroller.tn.gov/content/dam/cot/sa/advanced-
search/2020/pa19032.pdf.


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        7.      In addition to unlawfully failing to collect—and in many instances

destroying—records and evidence bearing upon its potential liability, CoreCivic has

recently been caught fabricating evidence in an effort to evade legal liability. 9

        8.      The reality that CoreCivic chronically fails to comply with its legal

obligations and is willing to conceal, destroy, or fabricate evidence that would expose its

deliberate, profit-motivated indifference to inmate safety are not new revelations.

Indeed, the State of Tennessee itself has all but stated directly that CoreCivic—and

Trousdale Turner Correctional Center in particular—extensively engages in such

behavior. In the Tennessee Comptroller’s January 2020 Performance Audit Report, for

example, the Comptroller specifically found that “health services staff had not entered any

serious accidents or injuries on the Accidents screen in TOMIS” at Trousdale Turner

Correctional Center during a one-and-a-half-year audit period—something auditors

found to be “questionable given the nature of the correctional environment” and

determined was “unlikely” to be accurate. Trousdale Turner Correctional Center officials

ultimately acknowledged that their incident reporting was, in fact, inaccurate, claiming

not to have been “aware” of applicable state reporting requirements.

        9.      The data that ultimately was reported to regulators reflected that Trousdale

Turner Correctional Center experienced the highest number of Class A incidents—defined

as “life‐threatening matters and breaches of security that are likely to cause serious

operational problems,” including “escapes and attempted escapes, deaths, assaults,


8 Ex. 5, Tennessee Comptroller of the Treasury, Performance Audit Report, Tennessee Department of
Correction (Nov. 2017), available at https://comptroller.tn.gov/content/dam/cot/sa/advanced-
search/2017/pa17275.pdf.
9See, e.g., Brinley Hineman, After Tennessee prison suicide, CoreCivic counselor fabricated health records
of         treatment:        TDOC,         THE         TENNESSEAN          (Aug.        25,         2020),
https://www.tennessean.com/story/news/crime/2020/08/26/after-tennessee-prisoners-suicide-
corecivic-worker-faked-health-records/3404186001/.

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hostage situations, total institutional lockdowns, rapes, certain uses of force, and various

weapons”—of any facility audited in the entire State of Tennessee.          CoreCivic also

managed to achieve that extraordinary result despite the fact that “CoreCivic correctional

facilities staff did not appropriately maintain original documentation of Class A

incidents.”    The following graph, appended to the Comptroller’s 2020 report as

Appendix-B-2, summarizes reported Class A incidents by each audited facility from

October 1, 2017 through April 12, 2019:




       10.    Despite all of the foregoing; despite multiple additional preventable deaths

at Trousdale Turner Correctional Center since the aforementioned audits and even since

Mr. Childress’s death in this case occurred; and despite near-constant reports of brutality,

criminality, neglect, and death both at CoreCivic’s Tennessee facilities generally and at


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Trousdale Turner Correctional Center in particular year after year after year; 10 state


10 See Demetria Kalodimos, Woman says she paid off gangs to keep son safe in prison, WSMV (Oct. 5,

2017),                 https://www.wsmv.com/news/woman-says-she-paid-off-gangs-to-keep-son-safe-in-
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https://www.tennessean.com/story/news/2020/01/26/tennessee-prison-inmate-dies-after-fight-
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Correctional        Center,         operator         CoreCivic,       WTVF        (Jun.       13,      2019),
https://www.newschannel5.com/longform/prisons-for-profit-concerns-mount-about-trousdale-turner-
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CoreCivic for staffing, sexual assaults, and deaths in jails, WTVF (Jan. 10, 2020),
https://www.newschannel5.com/news/scathing-state-audit-slams-tennessee-prisons-corecivic-for-
staffing-sexual-assaults-and-deaths-in-jails; Jamie McGee, CoreCivic shareholders granted class action
status        in       fraud          lawsuit,       THE        TENNESSEAN       (May         27,      2019),
https://www.tennessean.com/story/money/2019/03/27/corecivic-class-action-securities-fraud-
lawsuit/3289913002/; Chris Gregory, Family seeks answers in loved one's death at Trousdale prison,
LEBANON DEMOCRAT (Jan. 2, 2021), https://www.lebanondemocrat.com/hartsville/family-seeks-answers-
in-loved-ones-death-at-trousdale-prison/article_1ffe90f7-0e9f-5021-bb94-9ec1b4d23139.html; Demetria
Kalodimos, Inmates at CoreCivic prisons say they sometimes go months without medical care, WSMV
(Jun. 22, 2017), https://www.wsmv.com/news/inmates-at-corecivic-prisons-say-they-sometimes-go-
months-without-medical-care/article_8d28e630-bd12-5f1c-8b68-92b9336553e1.html;                Prison    Legal
News, Incorrect Cause of Tennessee Prisoner’s Death Reported by CoreCivic Employees, PLN (Jun. 7,
2018), https://www.prisonlegalnews.org/news/2018/jun/7/incorrect-cause-tennessee-prisoners-death-
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Tennessee,                THE               TENNESSEAN                (Jan.            16,            2020),
https://www.tennessean.com/story/news/local/2020/01/17/private-prison-corecivic-history-problems-
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https://www.nashvillescene.com/news/features/article/21111586/problems-persist-at-tennessees-
mismanaged-prisons; Dave Boucher, CoreCivic investigating ex-officer's allegations of negligent deaths
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https://www.tennessean.com/story/news/2017/12/12/corecivic-investigating-ex-officers-allegations-
negligent-deaths-private-prison/946196001/; Elizabeth Weill-Greenberg, ‘Just Let Him Kick,’ THE APPEAL
(Sep. 6, 2018), https://theappeal.org/just-let-him-kick/; Brinley Hineman, Murfreesboro man charged in
prison     cellmate's    death      at     Trousdale,     DAILY NEWS JOURNAL            (Feb.   20,   2020),
https://www.dnj.com/story/news/2020/02/20/murfreesboro-man-jacob-kado-charged-death-prison-
cell-mate-ernest-hill-trousdale-turner/4818354002/; Ethan Illers, Man killed during inmate-on-inmate
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b749-7b44cac1c002.html; Jeremy Finley, Recorded conversations reveal life inside prison ravaged by
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reveal-life-inside-prison-ravaged-by-covid-19/article_91ef5b06-8fe2-11ea-9b75-f36db06e1ab1.html;
Demetria Kalodimos, Gang activity, security a concern at Trousdale Turner facility, WSMV (Jun. 21,
2017),                https://www.wsmv.com/news/gang-activity-security-a-concern-at-trousdale-turner-

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regulators have failed to curb Trousdale Turner Correctional Center’s worst abuses.

Instead, in May of 2021—approximately 10 weeks after multiple murders at Trousdale

Turner Correctional Center including the murder at issue in this Complaint occurred—

the Trousdale County Commission approved a new, five-year contract with CoreCivic to

operate Trousdale Turner Correctional Center.

        11.     To date, this Court, too, has been unable to remedy CoreCivic’s operation of

a chronically unsafe prison within the Middle District of Tennessee where inmates in

CoreCivic’s care die or incur serious bodily injury with enraging frequency.


facility/article_df82a358-7073-552e-b5e4-9feb2e9cf8bc.html; Steven Hale, Tennessee’s Largest Prison
Still    Appears     as    Troubled    as    Ever,    THE    NASHVILLE      SCENE     (Feb.   13,    2019),
https://www.nashvillescene.com/news/features/article/21047078/tennessees-largest-prison-still-
appears-as-troubled-as-ever; Jessie Williams, Trousdale Turner Corrections Officer Arrested, MACON
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are      denied    insulin    to    'maximize    profits',   THE     TENNESSEAN       (Aug.    7,    2018),
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Chris Gregory, Trousdale Turner employee charged with smuggling contraband, LEBANON DEMOCRAT
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https://www.wkrn.com/news/prison-corrections-officer-in-trousdale-county-arrested-carrying-drugs/;
Dave Boucher, Gangs, insufficient staffing plague troubled Tennessee private prison, state audit finds,
THE                     TENNESSEAN                     (Nov.                   14,                   2017),
https://www.tennessean.com/story/news/politics/2017/11/14/tennessee-private-prison-operated-by-
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'This is unreal': Family seeks answers in death of Trousdale Turner prison inmate, THE TENNESSEAN (Feb.
2, 2021), https://www.tennessean.com/story/news/2021/02/03/trousdale-turner-inmate-aaron-blayke-
adams-dead-family-wants-answers/4290646001/; Alex Corradetti, Investigation underway following
death of inmate at Trousdale Turner Correctional Center, WKRN (Sep. 8, 2021),
https://www.wkrn.com/news/investigation-underway-following-death-of-inmate-at-trousdale-turner-
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DEMOCRAT (Oct. 7, 2021), https://www.lebanondemocrat.com/hartsville/former-trousdale-turner-
corrections-officer-indicted/article_aac20d8d-16e5-5edc-9e7e-d5fd9f8bfd0e.html; Levi Ismail, NAACP
calls for closure of Trousdale Turner Correctional Center, cites 'barbaric treatment' of Black men, WTVF
(Nov. 11, 2021), https://www.newschannel5.com/news/naacp-calls-for-closure-of-trousdale-turner-
correctional-center-cites-barbaric-treatment-of-black-men (all attached as Collective Ex. 6).

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      12.    With each additional preventable death that occurs at Trousdale Turner

Correctional Center that is not met with meaningful regulatory action, CoreCivic is

emboldened by the knowledge that it may continue to act with deliberate indifference

toward inmate safety and allow inmates to die needlessly in its care without fear of

experiencing meaningful legal consequences.

      13.    This Complaint—filed by the mother of decedent Terry Childress, who was

brutally assaulted and needlessly died at Trousdale Turner Correctional Center in

February 2021—demands that this Court compensate the Plaintiffs for Mr. Childress’s

preventable death; order CoreCivic to disgorge all profits arising from its chronically

unconstitutional operation of Trousdale Turner Correctional Center; assess a punitive

monetary sanction against CoreCivic sufficient to deter CoreCivic from maintaining its

profit-motivated deliberate indifference to inmate safety; declare Trousdale Turner

Correctional Center to be acting illegally and unconstitutionally; and appoint an

independent monitor to audit and ensure Trousdale Turner Correctional Center’s

compliance with minimum constitutional obligations. Alternatively, this Court should

enjoin Trousdale Turner Correctional Center’s continued operation going forward.

                                    II. PARTIES

      14.    Plaintiff G. Marie Newby is the mother of decedent Terry Childress, the

personal representative of Mr. Childress’s estate, and Mr. Childress’s next-of-kin. Ms.

Newby is a citizen of Alabama and may be contacted through her counsel.

      15.    Plaintiff the Estate of Terry Childress is the estate of decedent Terry

Childress. At all times relevant to this Complaint, Mr. Childress resided at CoreCivic’s

Trousdale Turner Correctional Facility in Trousdale County, Tennessee, where he was

brutally murdered by his cellmate just a day after appearing for a parole hearing. The
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Estate of Terry Childress is represented by its personal representative, Ms. Newby, and it

may be contacted through its counsel.

       16.    Defendant CoreCivic of Tennessee, LLC—which went by the name

“Corrections Corporation of America” before that name became synonymous with the

most insidious aspects of America’s private prison industry—is a private, for-profit prison

corporation that cages human beings for money. CoreCivic owns and operates Trousdale

Turner Correctional Center, the private prison that enabled Mr. Childress’s preventable

death through customs and policies of understaffing, misclassification, and profit-

motivated deliberate indifference to inmate safety. CoreCivic is a citizen of Tennessee

with its principal place of business and corporate headquarters located in Brentwood,

Tennessee.    CoreCivic may be served with process through its registered agent at

CoreCivic of Tennessee, LLC, Registered Agent: C T CORPORATION SYSTEM, 300

MONTVUE RD., KNOXVILLE, TN 37919-5546.

       17.    Defendant Damon Hininger is the Chief Executive Officer of CoreCivic. Mr.

Hininger’s commitment to prioritizing shareholder profit over inmate safety gave rise to

the chronically unconstitutional understaffing and misclassification conditions that

resulted in Mr. Childress’s preventable death. Defendant Hininger may be served at his

residence or wherever he may be found.

       18.    Defendant Steve Conry is CoreCivic’s Vice President of Operations

Administration. As the primary individual responsible for ensuring that CoreCivic’s

facilities are adequately staffed and that staff are trained properly, Mr. Childress’s murder

is directly attributable to Mr. Conry’s failed oversight and calculated, profit-motivated

understaffing decisions. Defendant Conry may be served at his residence or wherever he

may be found.

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       19.    Defendant Raymond Byrd was the warden of Trousdale Turner Correctional

Center at all times relevant to this Complaint. As Trousdale Turner Correctional Center’s

day-to-day overseer who was responsible for supervising its staff—including staff

members who were responsible for maintaining adequate staffing and staff members who

were responsible for inmate classification—Mr. Childress’s murder is directly attributable

to Mr. Byrd’s deliberate indifference to Trousdale Turner Correctional Center’s

chronically unconstitutional understaffing and misclassification conditions. Defendant

Byrd may be served at his residence or wherever he may be found.

       20.    Defendant Shawna Curtis was a classification counselor at Trousdale

Turner Correctional Center at the time Mr. Childress was murdered and the individual

who misclassified Mr. Childress’s murderer. Despite inmate Tymothy Willis’s violent

criminal history and institutional history, Defendant Curtis misclassified Tymothy Willis

as a low security risk and minimum custody inmate when he was not. As a result of that

misclassification, Tymothy Willis was housed with Mr. Childress, a low security risk

inmate whom Tymothy Willis brutally murdered. Defendant Curtis may be served at her

residence or wherever she may be found.

                III. JURISDICTION, VENUE, AND AUTHORITY

       21.    This Court has jurisdiction over the Plaintiffs’ federal claims in this civil

action pursuant to 28 U.S.C. § 1331.

       22.    This Court has supplemental jurisdiction to adjudicate the Plaintiffs’ state

law claims related to the Plaintiffs’ federal claims in this action pursuant to 28 U.S.C. §

1367(a).

       23.    As the judicial district in which a substantial part of the events or omissions

giving rise to the Plaintiffs’ claims occurred, venue is proper in this Court pursuant to 28
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U.S.C. § 1391(b)(2). Venue is independently proper in this Court pursuant to 28 U.S.C. §

1391(b)(1).

           24.     Plaintiff Newby has authority to maintain her own claims individually and

to maintain this wrongful death action as next-of-kin to Mr. Childress and as the personal

representative of Mr. Childress’s estate pursuant to Tenn. Code Ann. § 20-5-107(a).

                                  IV. FACTUAL ALLEGATIONS

           25.     On February 23, 2021, Terry Childress appeared for a parole hearing in

advance of his forthcoming release date.

           26.     On February 24, 2021, Terry Childress was brutally murdered in his prison

cell at Trousdale Turner Correctional Center by his violent and misclassified cellmate,

Tymothy Willis.

           27.     The cause of Mr. Childress’s death was “blunt force injuries of the head,”

and the manner of death was “homicide.” 11 Mr. Childress also suffered two broken ribs

as a result of Tymothy Willis’s assault.

           28.     Mr. Childress was 37 years old at the time of his murder. He left behind his

mother, siblings, and other family members and friends who loved him very much.

           29.     Video surveillance footage inside Trousdale Turner Correctional Center

confirms that corrections officers were not making timely rounds at the time of Mr.

Childress’s murder. As a result, no corrections officers were nearby to hear Mr. Childress

being viciously assaulted by Tymothy Willis, notwithstanding reports of “escalating

arguments” between them. 12 Thus, no corrections officers were nearby to intervene and




11   Ex. 7, Report of Investigation by County Medical Examiner at 5.
12   Id.

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prevent the assault from becoming fatal.

       30.    Tymothy Willis did not have any serious injuries and was not defending

himself when he murdered Mr. Childress. At the time he murdered Mr. Childress,

Tymothy Willis also sported a tattoo that simply stated: “Death.”




       31.    The reason why officers were not making timely rounds at Trousdale Turner

Correctional Center at the time of Mr. Childress’s murder and were unavailable to prevent

Tymothy Willis’s assault of Mr. Childress from becoming fatal is because Trousdale

Turner Correctional Center—and the unit where Mr. Childress was housed in particular—

was understaffed. The understaffed positions in Mr. Childress’s housing unit are “critical”

positions that must be staffed under Tennessee Department of Correction policy.

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           32.        Defendants CoreCivic, Hininger, Conry, and Byrd knew that Trousdale

Turner Correctional Center was chronically understaffed and that critical posts routinely

went unstaffed at the time of Mr. Childress’s murder. They also willfully understaffed

Trousdale Turner Correctional Center because doing so was and remains more profitable.

           33.        According to a former Trousdale Turner Correctional Center officer,

understaffing Trousdale Turner Correctional Center “definitely” helps CoreCivic save

money, and “they would much rather pay, you know, eight officers on night shift a bunch

of overtime to run that entire facility, you know, versus having three officers per unit 24

hours a day, which they’re supposed to.” 13

           34.        At the time that Mr. Childress was murdered, he was a low security risk.

           35.        At the time that Mr. Childress was murdered, Tymothy Willis was

misclassified as a low security risk inmate who should have been designated—at

minimum—a medium security inmate. 14

           36.        Even though Trousdale Turner Correctional Center was designed to be a

minimum security facility and is “not supposed to house anybody with medium to

maximum points,” it regularly and improperly accepts higher security level inmates,

resulting in “a huge mix of different security levels under one roof.” 15 This mixture of

inmate security levels dramatically increases the risk of inmate-on-inmate violence. A

former Trousdale Turner Correctional Center officer describes this situation as “like

adding a gallon of gasoline to an open flame.” 16



13   See Ex. 1 at 34:3–10.
14   See generally Ex. 8, Decl. of Roy T. Gravette.
15   Ex. 1, at 13:18–14:2.
16   Id. at 14:4–5.

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       37.    At the time Mr. Childress was murdered, CoreCivic had actual knowledge

that Mr. Willis posed a heightened security risk and was a volatile, dangerous inmate with

a history of violence.

       38.    At the time Mr. Childress was murdered, CoreCivic had actual knowledge

that Mr. Willis was a violent offender who had been convicted of a violent offense

involving the use of a deadly weapon and had a long history of felony convictions.

Tymothy Willis’s “Offender Attributes” profile dated 7/31/2018 also designated Mr. Willis

as a “High Risk: Violent” inmate with a “Maximum” custody level:




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       39.    Based on generally accepted practices in prison management, a recent

maximum custody level inmate like Tymothy Willis should not have been classified as a

minimum custody level inmate a mere two-and-a-half years after receiving a maximum

custody level classification.

       40.    Based on generally accepted practices in prison management, a recent

maximum custody level inmate like Tymothy Willis should not have been housed in a

Special Housing Unit with a minimum security inmate like Mr. Childress a mere two-and-

a-half years after receiving a maximum custody level classification.

       41.    Based on generally accepted practices in prison management, a recent

maximum custody level inmate like Tymothy Willis should not have been housed in a

Special Housing Unit with a minimum security inmate like Mr. Childress in a cell with no

windows or means of escape if one inmate attacks another.

       42.    Defendant CoreCivic’s own reports regarding Mr. Childress’s murderer

expressly refer to Mr. Willis as a medium security inmate. Generally accepted practice in

the prison management field also required classifying Mr. Willis as—at minimum—a

medium security inmate considering his violent criminal and institutional history.

       43.    Despite Tymothy Willis’s long history of violence, numerous felony

convictions, and poor institutional record—including serious disciplinary reports and an

institutional incident report in the previous six months before he murdered Mr.

Childress—Defendant Curtis misclassified Tymothy Willis as a low security risk and

minimum custody inmate who had just two “points.” Mr. Willis should instead have been

classified as at least a medium custody inmate who had at least thirteen points.

       44.    In   addition     to   Defendant     Curtis   misclassifying   Tymothy   Willis

notwithstanding Willis’s documented violent history and institutional record, at the time

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of Mr. Childress’s murder, Defendants CoreCivic and Byrd had specific knowledge that

Mr. Willis was an informant on the compound—otherwise known as a “snitch” 17—and that

he posed a heightened danger to anyone with whom he was housed as a result.

           45.     Because Tymothy Willis had acted as an informant, shortly before Mr.

Childress’s murder, Tymothy Willis “had gotten a message from everybody in Segregation

[that] was like, ‘Look, if you don’t take out your cellie, we’re going to take you out. But

you have to leave this facility some way or another.’ And the only way out -- he could get

out was killing somebody.” 18

           46.     As a result of the threats that he received from other inmates at Trousdale

Turner Correctional Center, Tymothy Willis brutally murdered Mr. Childress in order to

ensure his prompt transfer out of Trousdale Turner Correctional Center.

           47.     Nobody employed by CoreCivic intervened while Tymothy Willis murdered

Mr. Childress, because nobody employed by CoreCivic was around to hear it. Video

surveillance reveals that corrections officers were not nearby at the time of Mr. Childress’

murder and that they did not return to Mr. Childress’s cell for an extended time period

that was longer than normal rounds and adequate staffing required.

           48.     CoreCivic has actual knowledge that its surveillance footage proves its

understaffing and associated liability arising from Mr. Childress’s preventable murder.

In an effort to conceal its liability and its actionable deliberate indifference, however,

CoreCivic has withheld release of that footage to Plaintiffs under the pretense of security

concerns that are not genuine.

           49.     On a routine basis, Trousdale Turner Correctional Center’s Special Housing


17   Ex. 1 at 31:12–13.

18   Id. at 31:14–18.

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Unit has only two of its positions staffed, requiring each of the officers on duty to do the

work of three officers in addition to doing his or her individually assigned job. As a direct

result of this understaffing, rounds were not conducted either properly or timely in the

Special Housing Unit during the time period leading up to Mr. Childress’ murder. When

conducting rounds, officers routinely failed to verify the inmates’ status properly in

violation of TDOC policy and generally accepted practices in prison management. Neither

were checks conducted with the frequency required by TDOC policy and generally

accepted practices in prison management. As a result of these chronic failures, Tymothy

Willis was aware that he could murder Mr. Childress without intervention from any

nearby officers, who would not discover the assault until after Mr. Childress was dead.

       50.    As of December 2020—approximately two months before Mr. Childress’s

murder—only two of the five positions in Trousdale Turner Correctional Center’s Special

Housing Unit were staffed. Trousdale Turner Correctional Center also continued to

remain severely understaffed thereafter.

       51.    Adequate staffing would have enabled CoreCivic’s officers to respond to

Tymothy Willis’s assault of Mr. Childress and to prevent that assault from becoming fatal.

       52.    Trousdale Turner Correctional Center’s understaffing is so severe that two

units holding 360 inmates are often manned by just a single officer.            Such severe

understaffing is woefully insufficient to prevent serious injury to inmates resulting from

inmate-on-inmate violence.        It is also reasonably foreseeable that such gross

understaffing will result in an increased number of inmate-on-inmate assaults and that

those assaults will be more severe due to the absence of intervention from officers.

       53.    CoreCivic routinely staffs Trousdale Turner Correctional Center with just a

single officer per unit, which is woefully insufficient to maintain a constitutionally

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adequate level of inmate safety in the facility.

       54.      CoreCivic has—and it has long had—actual knowledge that Trousdale

Turner Correctional Center is severely understaffed.          Indeed, Trousdale Turner

Correctional Center is understaffed deliberately, because paying for sufficient staffing is

expensive and understaffing is more profitable.

       55.      Generally speaking, the less money that CoreCivic spends on staff and

inmate safety at Trousdale Turner Correctional Center, the higher CoreCivic’s profit

margin.      In all instances, CoreCivic acts to maximize profit for the benefit of its

shareholders.

       56.      Given its focus on maximizing profit, CoreCivic routinely fails to meet

constitutionally adequate safety standards at Trousdale Turner Correctional Center,

resulting in recurring, preventable, and disproportionately high instances of inmate-on-

inmate assaults and deaths.

       57.      Inmates at Trousdale Turner Correctional Center—including Terry

Childress—have died and continue to die needlessly as a result of Trousdale Turner

Correctional Center’s premeditated and profit-motivated understaffing choices.

       58.      Defendant Hininger—CoreCivic’s Chief Executive Officer—has actual

knowledge of Trousdale Turner Correctional Center’s chronic understaffing. Even so, he

has willfully failed to remedy Trousdale Turner Correctional Center’s deliberate

indifference to inmate safety, both because understaffing is more profitable and because

he does not care when inmates in CoreCivic’s care needlessly die.

       59.      Defendant Conry, CoreCivic’s Vice President of Operations Administration,

also has actual knowledge of Trousdale Turner Correctional Center’s endemic

understaffing. Even so, he has similarly failed to remedy Trousdale Turner Correctional

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Center’s understaffing and the heightened risk of fatal inmate-on-inmate violence

resulting from it, because understaffing is profitable and because he, too, is unbothered

when inmates in CoreCivic’s care needlessly die.

       60.    Defendant Byrd—who was the warden of Trousdale Turner Correctional

Center at the time of Mr. Childress’s preventable murder—was similarly aware of

Trousdale Turner Correctional Center’s extreme understaffing problems. Indeed, he

observed them personally almost every single day that he served as warden. Even so,

Defendant Byrd consciously neglected to remedy Trousdale Turner Correctional Center’s

chronic understaffing despite his personal knowledge of the extraordinary and frequently

fatal inmate-on-inmate violence enabled by it.

       61.    Owing to the fact that the Defendants’ tortious misconduct caused Mr.

Childress to die from his injuries, Mr. Childress was unable to exhaust administrative

remedies regarding the causes of action at issue in this Complaint in advance of its filing.

                               V. CAUSES OF ACTION

   CLAIM #1: 42 U.S.C. § 1983—DELIBERATE INDIFFERENCE TO AND FAILURE TO PREVENT
          FORESEEABLE INMATE-ON-INMATE VIOLENCE (AS TO ALL DEFENDANTS)

       62.    The Plaintiffs incorporate and reallege the foregoing allegations as if fully

set forth herein.

       63.    At all times relevant to this Complaint, all Defendants had legal duties under

the Eighth Amendment to protect Mr. Childress from violence at the hands of other

prisoners and to ensure Mr. Childress’s reasonable safety at Trousdale Turner

Correctional Center.

       64.    CoreCivic has an unconstitutional policy or practice of maintaining staffing

levels that are insufficient to ensure that inmates like Mr. Childress are protected from


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inmate-on-inmate violence.

      65.    All Defendants are and may be held liable for acting with deliberate

indifference to Mr. Childress’s safety at Trousdale Turner Correctional Center.

      66.    Defendants CoreCivic, Hininger, Conry, and Byrd failed to protect Mr.

Childress from a known risk of violence at the hands of another prisoner.

      67.    All Defendants failed to ensure Mr. Childress’s reasonable safety at

Trousdale Turner Correctional Center.

      68.    All Defendants acted with deliberate indifference to Mr. Childress’s safety

while he was an inmate at Trousdale Turner Correctional Center.

      69.    Defendants CoreCivic, Hininger, Conry, and Byrd knew that Mr. Childress

faced a substantial risk of serious harm at Trousdale Turner Correctional Center as a

result of its chronic understaffing. Similarly, Defendant Curtis knew that misclassifying

a violent and dangerous inmate like Tymothy Willis as a low security risk created a

heightened and specific risk of violence to any low security cellmate with whom Tymothy

Willis was housed.

      70.    Defendants CoreCivic, Hininger, Conry, Byrd, and Conry disregarded

known risks to Mr. Childress at Trousdale Turner Correctional Center by failing to take

reasonable measures to abate them.

      71.    Defendants CoreCivic, Hininger, Conry, and Byrd were actually aware of the

specific and particularized risks of serious harm posed to inmates like Mr. Childress as a

consequence of, inter alia, CoreCivic’s deliberate understaffing of Trousdale Turner

Correctional Center; CoreCivic’s failure to properly train and supervise the staff at

Trousdale Turner Correctional Center to ensure adequate staffing levels; Trousdale

Turner Correctional Center’s failure to adhere to safety protocols; and Trousdale Turner

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Correctional Center’s failure to classify and house inmates in its care correctly and in

accordance with generally accepted practices in prison management.

      72.    At the time Mr. Childress was murdered, Trousdale Turner Correctional

Center was plagued by constant and pervasive risks of physical harm to inmates.

      73.    At the time Mr. Childress was murdered, Trousdale Turner Correctional

Center’s pervasive risk of harm to inmates manifested in actual harm and a dramatically

outsized number of serious inmate-on-inmate attacks, only a fraction of which were ever

officially documented.

      74.    At the time Mr. Childress was murdered, Trousdale Turner Correctional

Center was plagued by longstanding, pervasive, well-known, and expressly observed

inmate-on-inmate attacks that routinely went unreported to state regulators.

      75.    At the time Mr. Childress was murdered, Defendants CoreCivic, Hininger,

Conry, and Byrd had been exposed to information concerning the risk of physical harm

to inmates housed at Trousdale Turner Correctional Center, including audits by

regulators, and they must have known about it.

      76.    At the time Mr. Childress was murdered, Defendants CoreCivic, Hininger,

Conry, and Byrd had actual or constructive knowledge of the constant and pervasive risk

of physical harm to inmates generally and to Mr. Childress specifically at Trousdale

Turner Correctional Center.

      77.    Defendants CoreCivic, Hininger, Conry, and Byrd were additionally aware

of the specific and particularized risk of serious harm posed to inmates like Mr. Childress

as a consequence of the fact that—rather than maintaining inmate safety—CoreCivic’s

officers facilitate violence within Trousdale Turner Correctional Center by smuggling in

drugs and needles to enable the drug trade, drug use, and the spread of contraband within

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the facility.

       78.      To the extent that CoreCivic attempts to segregate violent inmates from

non-violent inmates at Trousdale Turner Correctional Center, such attempts are rendered

ineffectual by the facts that inmates are misclassified; are not meaningfully secured in

their cells; and that entire pods are often left unsecured—even during lockdowns—due to

understaffing.      In combination with these chronic failures, Defendant Curtis’s

misclassification of Tymothy Willis proximately enabled Mr. Childress’s preventable

murder.

       79.      Despite Defendants CoreCivic’s, Hininger’s, Conry’s, and Byrd’s actual

awareness of the severe risks to inmate safety within Trousdale Turner Correctional

Center, they consciously and deliberately failed to address those risks because deliberate

indifference to inmate safety is more profitable.

       80.      Because so many previous deaths at Trousdale Turner Correctional Center

have not been met with meaningful remedial action, CoreCivic continues to maintain a

chronically unsafe and understaffed facility, because it does not expect that regulators or

this Court will take any meaningful remedial action against it.

  CLAIM #2: LIABILITY UNDER MONELL V. DEPT. OF SOCIAL SERVICES, 436 U.S. 658 (1978)
                            (AS TO DEFENDANT CORECIVIC)

       81.      The Plaintiffs incorporate and reallege the foregoing allegations as if fully

set forth herein.

       82.      Defendant CoreCivic has adopted a policy and practice of severely

understaffing its facilities, including Trousdale Turner Correctional Center, without

regard to inmate safety because understaffing is more profitable.

       83.      As a result of multiple audits identifying Trousdale Turner Correctional


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Center’s severe understaffing issues and thousands of violent incidents—both reported

and unreported—at the facility over a period of years, CoreCivic had actual knowledge of

Trousdale Turner Correctional Center’s chronic understaffing problems, but it opted not

to staff Trousdale Turner Correctional Center adequately because doing so would have

been less profitable.

       84.    At the time of Mr. Childress’s murder, CoreCivic’s employees—including

Defendants Hininger, Conry, and Byrd—had actual knowledge that Trousdale Turner

Correctional Center’s chronic understaffing problems resulted in an extraordinary and

outsized level of inmate-on-inmate violence at the facility.

       85.    CoreCivic’s policy and practice of understaffing is widespread, rampant, and

endemic to CoreCivic’s prison facilities, including Trousdale Turner Correctional Center.

       86.    Defendants CoreCivic, Hininger, Conry, and Byrd knew of the heightened

and chronic safety risks to inmates resulting from understaffing at Trousdale Turner

Correctional Center, but they tolerated, maintained, and promoted understaffing to

generate greater profits for CoreCivic at the expense of the safety of inmates like Mr.

Childress.

       87.    Mr. Childress’s death is attributable to Defendant CoreCivic’s policy and

practice of failing to ensure adequate staffing at its prison facilities, including Trousdale

Turner Correctional Center, which was explicitly or impliedly authorized by Hininger,

Conry, and Byrd, and in which they knowingly acquiesced in accordance with CoreCivic’s

policy, custom, and practice of prioritizing profit over inmate safety.

       88.    If Trousdale Turner Correctional Center’s Special Housing Unit had been

properly supervised and staffed, Mr. Childress would not be dead.

       89.    Trousdale Turner Correctional Center’s chronic understaffing also

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continues to remain unremedied even after Mr. Childress’s death. Indeed, several more

inmates have died at Trousdale Turner Correctional Center following Mr. Childress’s

death—including as recently as January 2022—and inmates continue to die there with

dramatically outsized frequency. In many cases, such deaths are kept hidden from and

unreported to the public.

                     CLAIM #3: TENNESSEE COMMON LAW NEGLIGENCE
                    (AS TO DEFENDANTS CORECIVIC, BYRD, AND CURTIS)

       90.    The Plaintiffs incorporate and reallege the foregoing allegations as if fully

set forth herein.

       91.    Defendants CoreCivic, Byrd, and Curtis owed a legal duty of care to Mr.

Childress to protect him from reasonably foreseeable harm.

       92.    Because Tymothy Willis was a known informant and violent inmate whose

safety had been threatened if he did not murder his cellmate, Defendants CoreCivic and

Byrd knew of or had reasons to anticipate an attack on Mr. Childress by Tymothy Willis,

but they did not use reasonable care to prevent it.

       93.    Based on Tymothy Willis’s violent and dangerous history and his

institutional history, Defendant Curtis knew that misclassifying Tymothy Willis as a low

security inmate posed a specific risk of physical harm to any low security cellmate with

whom Tymothy Willis was housed. Similarly, based on Tymothy Willis’s violent and

dangerous history, his institutional history, his status as an informant on the compound,

and specific threats communicated to Tymothy Willis by other inmates if he did not

murder Mr. Childress, Defendants CoreCivic and Byrd had actual and constructive notice

of the risk of foreseeable harm that Tymothy Willis posed to Mr. Childress specifically,

and they had reason to anticipate the attack.


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       94.    Accordingly, Defendants CoreCivic and Byrd knew or should have known

that Mr. Childress would become the victim of an attack by Tymothy Willis, but they failed

to use reasonable care to prevent it.

       95.    Defendants CoreCivic’s, Byrd’s, and Curtis’s breaches of their duty of care

to Mr. Childress proximately caused Mr. Childress to die at the hands of his violent,

dangerous, and misclassified cellmate.

                              CLAIM #4: LOSS OF CONSORTIUM
                                 (AS TO ALL DEFENDANTS)

       96.     The Plaintiffs incorporate and reallege the foregoing allegations as if fully

set forth herein.

       97.    Tennessee allows for an award of damages for loss of filial consortium and

other damages for the death of one’s child under Tenn. Code Ann. § 20–5–113. See

Hancock v. Chattanooga-Hamilton Cty. Hosp. Auth., 54 S.W.3d 234, 236 (Tenn. 2001).

       98.    The Defendants’ wrongful acts, faults, omissions, and tortious misconduct

caused Ms. Newby to suffer a loss of filial consortium and other damages arising from the

death of her beloved son.

       99.    Accordingly, Ms. Newby is entitled to an award of damages, including the

pecuniary value of Mr. Childress’s life and the loss of her son’s attention, guidance, care,

protection, companionship, cooperation, affection, and love.

                            CLAIM #5: TENN. CODE ANN. § 1-3-121
                               (AS TO DEFENDANT CORECIVIC)

       100.   The Plaintiffs incorporate and reallege the foregoing allegations as if fully

set forth herein.

       101.   Defendant CoreCivic knowingly and deliberately fails to ensure a


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constitutionally adequate level of inmate safety at its Tennessee-based facilities.

       102.   Defendant CoreCivic knowingly and deliberately fails to ensure a

constitutionally adequate level of inmate safety at its Tennessee-based facilities because

it is cheaper and more profitable not to do so and because it does not fear meaningful

regulatory or judicial consequences if it maintains understaffed facilities.

       103.   In an effort to prevent the fact of its chronic, profit-motivated deliberate

indifference to inmate safety from reaching Tennessee regulators, legislators, and others,

Defendant CoreCivic fails to document, disposes of, takes measures to conceal, and

falsifies records and evidence of its deliberate indifference to inmate safety.

       104.   Tenn. Code Ann. § 1-3-121 enables plaintiffs to vindicate claims for

declaratory and injunctive relief in cases involving illegal and unconstitutional

government action.     It specifically provides that: “Notwithstanding any law to the

contrary, a cause of action shall exist under this chapter for any affected person who seeks

declaratory or injunctive relief in any action brought regarding the legality or

constitutionality of a governmental action.”

       105.   Defendant CoreCivic’s chronic deliberate indifference to inmate safety

contravenes the provisions of the Eighth Amendment to the United States Constitution.

       106.   Defendant CoreCivic’s actions additionally contravene Tenn. Const. art. I, §

32, which provides that: “That the erection of safe prisons, the inspection of prisons, and

the humane treatment of prisoners, shall be provided for.”

       107.   Absent, at minimum, regular independent monitoring and unannounced

inspections designed to determine whether Defendant CoreCivic has remedied its chronic

and profit-motivated deliberate indifference to inmate safety and other unlawful conduct

described above, CoreCivic will continue to act both illegally and unconstitutionally with

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respect to its operation of Trousdale Turner Correctional Center.

       108.   To remedy CoreCivic’s chronically illegal and unconstitutional actions at

Trousdale Turner Correctional Center, this Court should appoint an independent monitor

to conduct regular unannounced inspections of Trousdale Turner Correctional Center and

report whether Defendant CoreCivic has remedied its chronic and profit-motivated

unlawful conduct.

       109.   In the absence of CoreCivic coming into compliance with its obligation to

ensure a constitutionally adequate level of inmate safety, this Court should issue an

injunction permanently enjoining Defendant CoreCivic from continuing to operate

Trousdale Turner Correctional Center going forward.

                              VI. PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs pray for the following relief:

       1.     That proper process issue and be served upon the Defendants, and that the

Defendants be required to appear and answer this Complaint within the time required by

law;

       2.     That the Plaintiffs be awarded all compensatory, consequential, and

incidental damages to which they are entitled in an amount not less than $2,500,000.00;

       3.     That the Plaintiffs be awarded punitive damages of not less than

$7,500,000.00;

       4.     That   Defendant     CoreCivic’s     profits   arising   from   its   chronically

unconstitutional understaffing at Trousdale Turner Correctional Center be disgorged;

       5.     That the Plaintiffs be awarded all costs and discretionary costs of trying this

action;

       6.     That the Plaintiffs be awarded their reasonable attorney’s fees pursuant to
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42 U.S.C. § 1988(b) and an appropriate multiplier of said fees;

      7.     That a jury of 12 be empaneled to try this cause;

      8.     That pre-judgment and post-judgment interest be awarded to the Plaintiffs;

      9.     That this Court declare that CoreCivic acted illegally by failing to ensure a

constitutionally adequate level of inmate safety at Trousdale Turner Correctional Center;

      10.    That this Court appoint an independent monitor to conduct regular

unannounced inspections of Trousdale Turner Correctional Center and report whether

Defendant CoreCivic has remedied its chronic and profit-motivated unlawful conduct,

and that this Court issue an injunction permanently enjoining Defendant CoreCivic from

continuing to operate Trousdale Turner Correctional Center if it fails to do so; and

      11.    That the Plaintiffs be awarded all further relief to which they are entitled.


                                                  Respectfully submitted,

                                                  /s/ Daniel A. Horwitz__________
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